  Case: 1:11-cv-00052-SNLJ Doc. #: 8 Filed: 05/19/11 Page: 1 of 2 PageID #: 22




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION


JUDY HAWKS,                                     )
                                                )
       Plaintiff,                               )
                                                )      Case No. 1:11-cv-00052-SNLJ
       vs.                                      )
                                                )
NCO FINANCIAL SYSTEMS, INC.,                    )
                                                )
       Defendant.                               )

                                   NOTICE OF SETTLEMENT


       NOW COMES the Plaintiff, JUDY HAWKS, my and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and is in

the process of finalizing settlement, which Plaintiff anticipates will be finalized within the next

30 days.

       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.


Dated: May 19, 2011                   Respectfully Submitted,

                                      By:/s/ Adam C. Maxwell
                                      [ ] Adam C. Maxwell
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                                    NOTICE OF SETTLEMENT
  Case: 1:11-cv-00052-SNLJ Doc. #: 8 Filed: 05/19/11 Page: 2 of 2 PageID #: 23




                               CERTIFICATE OF SERVICE


              I hereby certify that on May 19, 2011, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system. I further certify that on May 19, 2011, a copy

of this document was served via the CM/ECF system upon all counsel of record, including the

following:


Edward S. Meyer
Attorney for Defendant
Pitzer Snodgrass, P.C.
100 South Fourth Street, Suite 400
St. Louis, MO 63102


                                     By:/s/ Adam C. Maxwell
                                     Adam C. Maxwell




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                                 NOTICE OF SETTLEMENT
